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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                   Chapter 13
         Ana L. Vargas
                                                         Bankruptcy No. 19-16898-AMC

                              Debtor

                         ORDER DISMISSING CHAPTER 13 CASE

         AND NOW, after notice and hearing, it is ORDERED that the case is DISMISSED.

        IT IS FURTHER ORDERED that any undisbursed funds held by the Chapter 13 Trustee
from payments made on account of the Debtor's plan shall be refunded to the Debtor unless a
party in interest files a Motion for Alternative Disbursement within 21 days of the entry of this
Order.

     IT IS FURTHER ORDERED that any wage order entered in this case is hereby
TERMINATED and the employer shall cease wage withholding immediately.




     Date: August 4, 2022                        ASHELY M. CHAN
                                                 U.S. BANKRUPTCY JUDGE
